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6
                                   UNITED STATES DISTRICT COURT
7                            FOR THE WESTERN DISTRICT OF WASHINGTON,
                                            AT TACOMA
8
     COUNTRY MUTUAL INSURANCE
9    COMPANY, an Illinois corporation                  Cause No. 3:20-cv-05337 RJB-TLF
     individually and as successor in interest to
10   HOLYOKE MUTUAL INSURANCE                          JOINT STATUS REPORT
     COMPANY IN SALEM,
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                                    Plaintiff,
12
             vs.
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     EVERGREEN LANDING, LLC
14
                                    Defendant.
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             COME NOW the parties, by and through their counsel of record, and submit this Joint
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     Status Report and Discovery Plan.
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             1.       Statement of Case
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             Plaintiff asserts claims for declaratory judgment that there is no coverage under a
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     policy of insurance issued to the defendant for claims made in the underlying action, Tiffany
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     Casto and Ryan Jacobs v. Evergreen Landing, LLC, Superior Court of Washington for
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     Thurston County Cause No. 19-2-04188-34 (“the Liability Action”). The Liability Action is
22
     set for trial March 15, 2020 but is expected to be continued due to COVID-19 delays. Plaintiff
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1    is defending Defendant under reservation of rights in the Liability Action. It is Plaintiff’s

2    position that the claims in the Liability Action arise out of allegations of bodily injury, damage

3    to personal property and constructive eviction, if any, that were caused by the inhalation of, or

4    exposure, to mold, which is excluded from coverage under the Policy issued to Evergreen by

5    Country Mutual. Accordingly, Country Mutual seeks declaratory judgment it has no duty to

6    defend or indemnify Evergreen against the claims made in the Liability Action.

7            The Defendant has filed counterclaims for declaratory judgment and breach of

8    contract. The defendant seeks a ruling that the Plaintiff has a duty to defend the claims in the

9    Liability Action under the Policy issued by Country Mutual to Evergreen and that Plaintiff has

10   further breached the insurance contract by denying a duty to indemnify. Defendant seeks fees

11   and costs under Olympic Steamship.

12           2.       Additional parties to this lawsuit shall be joined no later than September 18,

13   2020.

14           3.       Proposed Discovery Plan

15           The parties’ counsel conducted a Fed.R.Civ.P. 26(f) conference on June 29, 2020. The

16    parties propose the following discovery plan:

17                    (A)    The parties’ Fed.R.Civ.P. 26(a) initial disclosures will be exchanged by

18                    July 6, 2020;

19                    (B)    It is Country Mutual’s position that the Court can decide the coverage

20                    issues on summary judgment without the need for discovery. However, if the

21                    Court were to find that an issue of fact precluded summary judgment, then

22                    Country Mutual would likely seek discovery related to the facts and allegations

23                    in the Liability Action. Evergreen proposes a stay of discovery until the

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1                     Liability Action is concluded. The parties agree that discovery need not be

2                     phased, limited, and/or focused on particular issues;

3                     (C)    The parties suggest no changes to the limitations on discovery imposed

4                     under the Federal and Local Civil Rules regarding electronically stored

5                     information;

6                     (D)    Given the claims currently asserted in this action, the parties do not

7                     currently anticipate any issues related to privilege;

8                     (E)    The parties suggest no changes to the limitations on discovery imposed

9                     under the Federal and Local Civil Rules; and

10                    (F)    At this time the parties have no suggestions for any other orders.

11           4.        Statement Regarding Local Rule 26 (f)(1)

12                    (A) Prompt Case Resolution.            Plaintiff has filed a Motion for Summary

13                    Judgment on its duty to defend and indemnify, noted for July 11, 2020.

14                    Defendant plans on filing a cross-motion for Partial Summary Judgment on the

15                    duty to defend. Another issue Defendant has raised is whether the Plaintiffs in

16                    the Liability Action will join as Interested Parties.

17                    (B) Alternative Dispute Resolution.            The parties believe that private

18                    mediation likely will be the appropriate form of ADR under Fed.R.Civ.P. 39.1.

19                    The parties further believe that mediation should occur, and will make efforts

20                    towards accomplishing a mediation, by the close of discovery.

21                    (C) Related Cases.             Tiffany Casto and Ryan Jacobs v. Evergreen
22                    Landing, LLC, Superior Court of Washington for Thurston County Cause No.
23                    19-2-04188-34, as discussed in Section One above.

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1                     (D) Discovery Management.               The parties do not anticipate needing

2                     additional management outside the federal and local rules.

3                     (E) Anticipated Discovery Sought.               The parties        do   not     anticipate

4                     needing discovery in excess of that allowed by the federal and local rules.

5                     (F) Phasing Motions.             At this time, Country Mutual does not anticipate

6                     the need for phasing. Evergreen believes, after the cross-motions for summary

7                     judgement, the should be stayed until the Liability Action is concluded.

8                     (G) Preservation of Discoverable Information.                     The      Parties     have

9                     complied with the federal and local rules.

10                    (H) Privilege Issues.            At this point in time, the parties do not anticipate

11                    issues related to privilege given the current claims.

12                    (I) Model Protocol for Discovery of ESI. The            parties    agree      the    model

13                    protocol should be sufficient.

14                    (J) Alternatives to Model Protocol. The parties suggest no alternatives.

15           5.       In the absence of a stay, the parties believe that all remaining discovery can be

16   completed by May 14, 2021.

17           6.       Plaintiff reserves the right to request bifurcation of claims.

18           7.       The parties do not believe that pretrial statements and the pretrial order should

19    be dispensed with.

20           8.       The parties believe at some point prior to the discovery cutoff date, mediation

21    would be appropriate in conformance with Local Rule 39.1. At this time, the parties do not

22    believe this case is appropriate for the Individualized Trial Program under Local Rule 39.2.

23           9.       The parties have no specific suggestions for shortening or simplifying the case.

     JOINT STATUS REPORT – 4                                                            SOHA & L ANG, P.S.
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1            10.      In the absence of a stay, the parties believe this case will be ready for trial by

2     August 16, 2021, approximately 120 days after the close of discovery, under Local Rule 16.

3            11.      ECF 5 omitted a paragraph 11.

4            12.      Neither party has demanded a jury yet.

5            13.      The parties estimate this case will require three to four (3 to 4) trial days.

6            14.      The name, address and telephone number of counsel for plaintiff are:
7                     Misty Edmundson
                      Cristin Cavanaugh
8                     Soha & Lang, PS
                      1325 4th Ave, Suite 2000
9                     Seattle, WA 98101
                      (206) 624-1800
10
             The name, address and telephone number of counsel for the defendant are:
11
                      Linda Foreman
12                    Foreman Sturm & Thede, LLP
                      5825 60th St. SE
13                    Snohomish, WA 98290
                      (425) 377-1100
14           15.      At this time, trial counsel have no known complications for setting a trial date in

15   August/ September 2021.

16           16.      All parties have been served with the Summons and Complaint.
17           17.      The parties do not request a scheduling conference before the scheduling order
18    being entered.
19           18.      All non-government corporate parties have filed disclosure statements. See ECF
20    2 filed on April 10, 2020 and ECF 13 filed on June 22, 2020.
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1            DATED this 6th day of July, 2020.

2                                          SOHA & LANG, P.S.

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8                                          Company, an Illinois corporation individually and as
                                           successor in interest to Holyoke Mutual Insurance
9                                          Company in Salem

10                                        FOREMAN STURM & THEDE LLP

                                          Linda L. Foreman
11                                        Linda L. Foreman, WSBA #11817
                                          Attorney for Defendant
12                                        Evergreen Landing, LLC
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